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                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF LOUISIANA

                                   *
    CYRIL VETTER and VETTER        *
    COMMUNICATIONS CORP            *
                                   *
                                   *
    VERSUS                         *                   CIVIL ACTION: 3:23-CV-01369-SDD-EWD
                                   *
                                   *
    ROBERT RESNIK individually and *
    d/b/a RESNIK MUSIC GROUP       *
                                   *
    ***************************

                                 SUR-REPLY MEMORANDUM
                            IN OPPOSITION TO MOTION TO DISMISS

           The plaintiffs, Cyril Vetter and Vetter Communications Corp, by and through the

undersigned counsel, respectfully submit this sur-reply memorandum in opposition to the Motion

to Dismiss (R. Doc. 12) filed by the defendant, Robert Resnik.

           1.       It is notable that the Reply (R. Doc. 23) essentially ignores Count One of the

Complaint (R. Doc. 1) altogether in suggesting that “[t]his case is about transfers of copyright

ownership, and the extent to which they can be terminated.”1 As it always has, Count One asks the

Court to declare the ownership of the Renewal Copyright Interest obtained by Mr. Smith’s heirs

pursuant to the renewal provisions of the 1909 Copyright Act—not the termination provisions of

the 1976 Copyright Act. While similar, those provisions are not interchangeable. For the reasons

previously detailed in the Opposition,2 unlike rights recaptured by termination, a renewal copyright

must be considered a new property interest. The nature and scope of that new property interest is

properly determined under United States law in accordance with the principles outlined in Itar-



1
    R. Doc. 23, at 4.
2
    R. Doc. 17, at 14-15.

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Tass Russian News Agency v. Russian Kurier, Inc., 153 F.3d 82 (2d Cir. 1998). In that respect, the

plain language of the 1909 Copyright Act dictates that Mr. Smith’s heirs took ownership of the

Renewal Copyright Interest “free of any claim founded upon an assignment made by [Mr. Smith]

in his lifetime.”3 The defendant’s claim to continued exploitation rights in the Renewal Copyright

Interest is undoubtedly founded upon Mr. Smith’s assignment to Windsong in 1963. Accordingly,

it should be rejected. The Reply offers nothing to the contrary.

         2.       As to Count Two, the Reply oversells the extent to which the plaintiffs’ position

has been judicially rejected. There is no dispute that the few courts to consider the geographical

scope of termination rights have ruled contrary to the plaintiffs’ position. However, a handful of

district court decisions from outside this Circuit—all of which lack meaningful analysis of the

issue—can in no way be said to mandate a result here. This is especially true given that the

defendant’s seminal case, Siegel v. Warner Bros. Ent. Inc., 542 F. Supp. 2d 1098 (C.D. Cal. 2008),

has been called into serious doubt by the Supreme Court’s decision in Kirtsaeng v. John Wiley &

Sons, Inc., 568 U.S. 519 (2013). The defendant says Kirtsaeng is irrelevant—and that the

plaintiffs’ reliance on the opinion is “egregiously misplaced”—because the decision did not

directly address termination rights.4 But, of course, a prior decision need not be on all fours to be

relevant. In fact, Kirtsaeng is relevant here, if for no other reason, because “there is a presumption

that a given term is used to mean the same thing throughout a statute.” Brown v. Gardner, 513

U.S. 115, 118 (1994). Kirtsaeng held that the phrase “under this title” lacks geographic

significance in the context of the 1976 Copyright Act’s first sale provisions. Accordingly,

following Kirtsaeng, it is impossible to presume, as the Siegel court did,5 that the phrase “rights


3
  R. Doc. 17, at 17-18 (quoting Stewart v. Abend, 495 U.S. 207, 219 (1990)).
4
  R. Doc. 23, at 4.
5
  Siegel, 542 F. Supp. 2d at 1140 (equating “rights that arise under this title” with “rights enumerated in Title 17 of
the United States Code.”)

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that arise under this title” in Section 304(c)(E) imposes an inherent geographical limitation on the

scope of rights returned to the author following termination. To the contrary, following Kirtsaeng,

there is a presumption that “under this title” lacks geographical significance when used in the

Copyright Act. Nothing in the Reply explains why this presumption should not apply here.

         3.       Also irrelevant, says the defendant, is any discussion of patent and trademark law

because the case at bar only concerns copyright law. However, in the absence of controlling

precedent, it is natural and proper to reason by analogy through consideration of “similar language

in other contexts.” United States v. Rayo-Valdez, 302 F.3d 314, 316 (5th Cir. 2002). As detailed in

the Opposition,6 when compared to the laws and treaties governing patents and trademarks, it is

clear that copyrights are not, as the defendant argues, “territorial” in the sense that a separate and

distinct property interest exists in every foreign territory with which the United States has

copyright relations. The defendant labels the analogies to patent and trademark law “irrelevant

excursions,”7 but fails to provide any substantive reason why the Court should not consider them.

         4.       More generally (but along the same lines), the defendant caricatures the plaintiffs’

arguments concerning the principle of territoriality as it relates to domestic copyright law. The

defendant attempts to restate the plaintiffs’ position here to be that “domestic law is actually

global.”8 This “restatement” distorts the plaintiffs’ position beyond fair recognition. What the

plaintiffs have actually argued is that there is a single copyright interest in a given work, that such

copyright interest must have a “country of origin,” and that, in general, the laws of that country

will govern issues of copyright ownership throughout the world. This is not to say that “domestic

law is global,” but rather, that there is an inescapable distinction between the law applied to



6
  R. Doc. 17, at 8-13.
7
  R. Doc. 23, at 2.
8
  Id.

                                                   3
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copyright infringement and the law applied to the antecedent question of copyright ownership.

Only after the ownership question has been answered does the presumption against extra-territorial

application of the Copyright Act become relevant to foreign conduct.

         5.       Importantly, the distinction between lex originis (for ownership) and lex loci delicti

(for infringements) is hardly original or “novel” to the plaintiffs. In addition to Itar-Tass, which

addressed issues of initial ownership, the plaintiffs have directed the Court to numerous cases in

which ownership through assignment is determined using the same choice of law analysis.9 One

of those cases, Creazioni Artistiche Musicali, S.r.l. v. Carlin Am., Inc., 2016 WL 7507757

(S.D.N.Y. Dec. 30, 2016), is well known to the defendant’s pro hac vice counsel, as it was litigated

by one of the attorneys appearing before the Court in this action. Creazioni, along with the other

cases cited by the plaintiffs, stands firmly for the proposition that questions of copyright

ownership, whether through authorship or assignment, should be resolved using the law of the

country with the closest relationship to the work. Given this, there is simply no fair-minded basis

to accuse the plaintiffs, as the defendant has, of failing to provide the Court with “a single relevant

precedent”10 on the issue. That claim is evidently false and remarkably cavalier.

         6.       Lastly, the Reply posits that accepting the plaintiffs’ position would mean that

works of foreign origin are ineligible for recapture through termination.11 It is ironic that the

defendant asks the Court to reject the plaintiffs’ interpretation of United States copyright law—an

interpretation that would greatly benefit United States authors—out of an ostensible concern for

foreign authors. After all, the United States Congress does not generally legislate for the benefit

of foreign nationals, especially at the expense of Americans. That said, contrary to the defendant’s



9
  See R. Doc. 17, at 41.
10
   R. Doc. 23, at 1.
11
   Id. at 3.

                                                    4
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supposition, the plaintiffs’ statutory interpretation does nothing to inherently exclude foreign

authors from United States termination rights. The obligation of “national treatment” certainly

seems broad enough to require United States courts to provide foreign authors with the same post-

termination legal enforcement benefits as those afforded to domestic authors.12 The plaintiffs have

not argued otherwise. But even if a foreign author’s termination rights are recognized within the

United States, that author might still face contractual consequences outside of the United States if

the original transfer is governed by foreign law.13 Those consequences, unfortunate as they may

be, are beyond the reach of United States law to address. To the extent that foreign authors desire

to have worldwide or consequence-free termination rights, that is a matter for them to

address through their own legislative process, not the United States Congress. Here, Mr. Vetter is

a United States citizen who assigned his United States copyright to a United States corporation

pursuant to an agreement governed by United States law. In this light, questions regarding

the scope of “national treatment” owed to foreign authors are simply a distraction.

                                                       ***

        Like the Motion to Dismiss, the Reply effectively conveys the incredulity with which the

defendant views the plaintiffs’ legal arguments. That said, the defendant has yet to articulate how

and why those arguments are wrong. Accordingly, the Motion to Dismiss should be denied.



                                            Respectfully submitted,

                                            WELLS & KAPPEL, LLP

                                            /s/ Timothy Kappel
                                            Timothy R.W. Kappel, LA Bar No. 32881 (Lead Attorney)

12
  See 17 U.S.C. § 501(b).
13
  For example, the musical group Duran Duran was recently found by an English court to be in breach of their English
publishing contract following their attempted invocation of United States termination rights. See Gloucester Place
Music Ltd. v. Le Bon (2016) EWHC (Ch) 3091 (Eng).

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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 5, 2024, a copy of the foregoing was filed electronically

with the Clerk of Court using the CM/ECF system. Notice of this filing will be served upon all

counsel of record by operation of the Court’s electronic filing system.

                                             /s/ Timothy Kappel




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